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                              IN THE UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF UTAH


    CRIMINAL PRODUCTIONS, INC.,                             ORDER TO SHOW CAUSE
                                                            RE: FAILURE TO TIMELY
                             Plaintiff,                     EFFECTUATE SERVICE AND
                                                            LACK OF PROSECUTION
    v.
                                                            Case No. 2:17-cv-00550-DN
    TROY REIGER, et al.,
                                                            District Judge David Nuffer
                             Defendants.


           Plaintiff initiated this action against Doe Defendants on June 7, 2017. 1 Plaintiff then filed

an amended complaint on June 24, 2019, identifying the true name, location, and contact

information of the Doe Defendants. 2 Since that time, over 11 months have passed, and the only

substantive activity in the docket for the case has been the filing of a stipulated motion for entry

of judgment as to one defendant, which motion was denied because the defendant was no longer

a party. 3

           The time for service of the Amended Complaint expired after 90 days from filing. 4 No

proof of service or anything else has been filed regarding the Defendants. Therefore,

           IT IS HEREBY ORDERED that by no later than Wednesday June 10, 2020, Plaintiff

must file a report stating the status of the case and showing cause as to why this case should not

be dismissed for failure to timely effectuate service and lack of prosecution. Plaintiff’s status



1
    Complaint for Copyright Infringement and Jury Demand, docket no. 2, filed June 7, 2017.
2
    Amended Complaint for Copyright Infringement and Jury Demand, docket no. 99, filed June 24, 2019.
3
 Stipulated Motion for Entry of Judgment, docket no. 100, filed June 28, 2020; Order Denying Stipulated Motion
for Judgment, docket no. 102, filed Jan. 10, 2020.
4
    Fed.R.Civ.P. 4(m).
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report must include a statement regarding Plaintiff’s diligence in serving and pursuing its claims

against each remaining Defendant since the amended complaint was filed. Plaintiff must also

state its intent with regard to continued pursuit of its claims against each remaining Defendant,

and its plans for moving this case to disposition as to each remaining Defendant.

       If Plaintiff fails to timely file a status report by Wednesday June 10, 2020, Plaintiff’s

amended complaint and this action shall be dismissed without prejudice for failure to timely

effectuate service and lack of prosecution without further notice.

       Signed May 21, 2020.

                                              BY THE COURT


                                              ________________________________________
                                              David Nuffer
                                              United States District Judge




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